Case 1:17-cv-00113-PLM-RSK ECF No. 56 filed 04/14/17 PageID.395 Page 1 of 7



                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

CITY OF GRAND RAPIDS,

      Plaintiff/Counter Defendant,
                                           No. 1:17-cv-00113
v
                                           HON. PAUL L. MALONEY
GRAND RAPIDS POLICE COMMAND
OFFICERS ASSOCIATION, MATTHEW              MAG. RAY KENT
JANISKEE, MICHIGAN STATE POLICE
AND JEFFREY GETTING- KALAMAZOO
COUNTY PROSECUTOR,

      Defendants,

and

MATTHEW JANISKEE,

      Counter-Plaintiff/Cross-Plaintiff/
      Third-Party Plaintiff,

v

CITY OF GRAND RAPIDS,

      Counter-Defendant,

MICHIGAN STATE POLICE and
JEFFREY GETTING- KALAMAZOO
COUNTY PROSECUTOR,

      Cross-Defendants,

DAVID RAHINSKI, DANIEL SAVAGE,
DAVID KIDDLE, PETER McWATERS,
and DAVID SCHNURSTEIN

      Third-Party Defendants.
Case 1:17-cv-00113-PLM-RSK ECF No. 56 filed 04/14/17 PageID.396 Page 2 of 7



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                                                                           /

              BRIEF IN SUPPORT OF MOTION TO DISMISS
 Case 1:17-cv-00113-PLM-RSK ECF No. 56 filed 04/14/17 PageID.397 Page 3 of 7




             CONCISE STATEMENT OF ISSUES PRESENTED

I.    The Eleventh Amendment bars all claims against the Michigan State Police.




                                       i
Case 1:17-cv-00113-PLM-RSK ECF No. 56 filed 04/14/17 PageID.398 Page 4 of 7



         CONTROLLING OR MOST APPROPRIATE AUTHORITY


Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 104 S.Ct. 900, 79 L.Ed.2d
67 (1984)

Alabama v. Pugh, 438 U.S. 781, 98 S.Ct. 3057, 57 L.Ed.2d 1114 (1978)

Abick v. Michigan, 803 F.2d 874 (6th Cir. 1986).




                                         ii
 Case 1:17-cv-00113-PLM-RSK ECF No. 56 filed 04/14/17 PageID.399 Page 5 of 7



                                 INTRODUCTION

      For purposes of this motion, the Michigan State Police (MSP) accepts as true

the factual allegations made against it by Plaintiff and Third Party Plaintiff (which

are very few). At issue is whether certain phone recordings made by and provided

to the MSP by the City of Grand Rapids for purposes of a criminal investigation

violated federal and state wiretapping laws. This suit is brought against the

Michigan State Police solely to seek an order “determining the rights and the

obligations . . . with respect to the transcripts and recordings under [the] Federal

Wiretapping Act and the State Eavesdropping Act.” This Court lacks jurisdiction to

grant the relief sought as to the Michigan State Police.


                                    ARGUMENT

I.    The Eleventh Amendment bars any claim against the Michigan State
      Police.


      A state may not be sued in federal court, regardless of the relief sought,

unless that state has waived its sovereign immunity under the Eleventh

Amendment or Congress has overridden it. Puerto Rico Aqueduct and Sewer Auth.

v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993); Pennhurst State Sch. & Hosp. v.

Halderman, 465 U.S. 89, 124 (1984); Alabama v. Pugh, 438 U.S. 781, 782 (1978).

The State of Michigan has not consented to suit for the claims alleged, nor has

Congress overridden its immunity for claims under 18 U.S.C. § 2510 —the statute

under which Plaintiff seeks relief—assuming Plaintiff can bring a cause of action

directly under that statute. Nor has the State consented to suit, nor has Congress


                                           1
Case 1:17-cv-00113-PLM-RSK ECF No. 56 filed 04/14/17 PageID.400 Page 6 of 7



overridden its immunity, for claims brought under 42 U.S.C. § 1983 Johnson v.

Dellatifa, 357 F.3d 539, 545 (6th Cir. 2004); Abick v. Michigan, 803 F.2d 874, 877

(6th Cir. 1986).

      The Michigan State Police (MSP) is an executive department of Michigan’s

government, created by Mich. Comp. Laws. § 16.250. MSP is afforded the same

Eleventh Amendment protections as the State itself. Without consent or

abrogation, the Eleventh Amendment bars this suit against MSP. See, generally,

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100, 104 S.Ct. 900, 79

L.Ed.2d 67 (1984); Alabama v. Pugh, 438 U.S. 781, 782, 98 S.Ct. 3057, 57 L.Ed.2d

1114 (1978); Abick v. Michigan, 803 F.2d 874, 876-77 (6th Cir. 1986).

      The only exception to Eleventh Amendment immunity is an official capacity

claim against an individual for prospective injunctive relief. Ex parte Young, 209

U.S. 123 (1908); see also MacDonald v. Vill. of Northport, Mich. 164 F.3d 964, 970–72

(6th Cir. 1999). But here Plaintiff and Counter-Plaintiff have not made any claims

against any MSP individuals.




                                          2
Case 1:17-cv-00113-PLM-RSK ECF No. 56 filed 04/14/17 PageID.401 Page 7 of 7



                   CONCLUSION AND RELIEF REQUESTED

      Defendant Michigan State Police respectfully requests this Court to grant

this motion and enter an order dismissing this action against it.


                                               Respectfully submitted,

                                               Bill Schuette
                                               Attorney General

                                               s/Mark E. Donnelly
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Dated: April 14, 2017                          P39281


                           CERTIFICATE OF SERVICE

I hereby certify that on April 14, 2017, I electronically filed the above document(s)

with the Clerk of the Court using the ECF System, which will provide electronic

copies to counsel of record.

                                               s/Mark E. Donnelly
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                                           3
